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 AO 9 1 (Rev. I 1/1 I) Criminal Co mplaint

                                                                                                               FILED
                                                                                                         YANES&\ L ARMSlRONG, Ct.ERIC
                                                 UNITED STATES DISTRICT COURT
                                                             for the                                            AUG 2 4 2020
                                                 WESTERN DISTRICT OF KENTUCKY
                                                                                                           U.S. DISTRICT COURT
             UNITED STATES OF AMERICA                                     )
                                                                                                         WEST'N. DISt KENTUCKY
                             V.                                           )
                                                                          )        Case No.    3,' JD- mJ- b03 -R6(
              CURTIS LEE BRADLEY                                          )
                   Defendant

                                                       CRIMINAL COMPLAINT

             I, the complainant in this case, state the following is true to the best_of my knowledge and belief.

        In or about and between July 2018 and                ovember 2018 and in the county of Jefferson in the Western District
of Kentucky, the defendant violated:

                             Code Section                                          Offense Description

                             18 U.S.C. §§ 2251 (a) and (e)                         Production of Child Pornography

                             18 U.S.C. §§ 2252A(a)(5)(B) and 2252A(b )(2)          Possession of Materials Containing Child
                                                                                   Pornography

             This criminal complaint is based on these facts:

                             See attached affidavit.


             X                Continued on the attached sheet




Sworn to before me and signed in my presence.

Date:     ~4                                 ~;z..u
                                                                 Hon. Magistrate Regina S. Edwards

City and State: Louisville, Kentucky

                                                                                                          CCT (A USA initials)
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                                           AFFIDAVIT
                                                                          REDACTED
         I, Kay Brose, having been first duly sworn, do hereby depose ana state as tollows:

I.       INTRODUCTION


         1.     I am a Special Agent with the United States Department of Homeiand Security

(DHS), Homeland Security Investigations (HSI) and have been employed so since January 2019.

         2.     Prior to HSI, I worked as a Special Agent for the United States Secret Service

                                                                      .
(USSS) from 2017-2019. Prior to that, I worked as a police officer for the Indiana Gaming

Commission (IGC) from 2011-2017.

         3.     As a Special Agent with HSI, I am authorized to investigate crimes involving

violations of federal law, including the sexual exploitation of children and, more specifically, the

production, receipt, distribution, possession and accessing with intent to view child pornography.

See 18 U.S.C. §§ 2251, et seq. I have received training and assisted other Special Agents with

investigations in the area of child pornography and child exploitation, and have had the opportunity

to observe and review numerous examples of child pornography (as defined in 18 U.S .C. § 2256)

in all forms of media including computer media.

II.      PURPOSE STATEMENT

         4.     The purpose of this affidavit is to obtain an arrest warrant for Curtis Lee

BRADLEY for violations of 18 U.S.C. §§ 225l(a) and (e) (production of child pornography) and

18 U.S.C. §§ 2252A(a)(5)(B) and 2252A(b)(2) (possession of materials containing child

pornography).

         5.     I have not included every fact known to me concerning this investigation and have

set forth only those facts that I believe are necessary to establish probable cause to believe that

BRADLEY violated federal child exploitation law.
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III.   SOURCES OF INFORMATION

       6.     The information contained in this affidavit is based on my personal observations,

experience, training and information provided to me by other law enforcement officials.

IV.    PROBABLE CAUSE

       7.     On July 31 , 2019, Louisville Metro Police Department (LMPD) Detective Kris

Pedigo filed a Criminal Complaint with the Jefferson County District Court (Case# 8019054927

Warrant# E05610003552059) against Curtis L. BRADLEY. Among other things, the Complaint

detailed that from July 27, 2016 through July 27, 2019, in Jefferson County, Kentucky, BRADLEY

sexually assaulted Jane Doe 1, a minor, more than 100 times.

       8.      According to the Criminal Complaint, the most recent of these sexual assaults

occurred on July 27, 2019. During the particular incident on July 27, 2019, another adult

transported Jane Doe 1 to BRADLEY' s house located at 3407 Deibel Way, Louisville, Kentucky,

40220. Once inside, Jane Doe 1 was taken was taken to BRADLEY' s bedroom where she-was

forced to undress while BRADLEY took photos and recorded images of sexually explicit conduct.

       9.      As a part of the LMPD investigation, multiple search warrants were executed

resulting in the collection of numerous digital devices. For example, on July 30, 2019, LMPD

officers executed a search warrant at BRADLEY' s Deibel Way residence. During the search, law

enforcement officers discovered two WIFI video cameras, including a black WIFI video camera

MAGINON IPC-30 FHD (the "Maginon camera") located in BRADLEY' s bedroom. At the time

it was found, the Maginon camera was located on top of the nightstand next to the bed.

       10.     After the evidence was seized and processed, LMPD Detective Pedigo obtained an

additional search warrant to review the information from the two WIFI cameras, including but pot

limited to photographs and videos, as well as other digital information maintained on the internal



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(but removable) storage devices on these cameras. While reviewing the information collected

from the digital devices, Detective Pedigo located multiple video clips of sexually explicit conduct

involving BRADLEY and Jane Doe 1. Detective Pedigo found the video clips on a MIN SD

CARD located within the Maginon camera.

        11. ·   On August 15, 2020, a federal search warrant was obtained to search and

forensically examine the MIN SD CARD from the Maginon camera, along with several other SD

Cards and thumb drives found in BRADLEY' s bedroom. On August 17, 2020, law enforcement

officials executed the warrant and reviewed the MIN SD CARD from the Maginon camera. HSI

agents discovered that the SD card contained numerous video clips of BRADLEY' s bedroom,

including a significant number of video clips that contained sexually explicit conduct involving

BRADLEY and Jane Doe 1 dated from the time period of July through November 2018 .                 A

sampling of the videos affiant observed are described as follows: 1:

                Video 20180724113209 MOTION - 24 Jul




1
 Screen captures from the videos have been shown to the reviewing Magistrate Judge and will be
maintained in a secure manner by Affiant.

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                   1s o mg a ce p one m s eft hand and is manipulating it with his right
       hand while aimed directly toward Jane Doe 1. At approximately 18 seconds into the video,
       BRADLEY answers his cell phone and places it on his left ear. BRADLEY en a ed ·
       phone conversation with an unknown party.




       12.    In addition to the video clips detailed above, your affiant also observed the

following two video clips relevant to BRADLEY'_ s operation of the Maginon camera:

       a.      Video 20180811195255_MOTION - 11 August 2018 [19:52:55 hours]: This
       video is 41 seconds in length and is taken from a different location in the bedroom. The
       video shows that the video camera has been placed close to the ground, next to the bed and
       aimed at the door. BRADLEY's left lower leg can be seen while he is sitting on the bed.
       Approximately 20 seconds into the video, BRADLEY can be seen picking up the camera,
       looking directly at the lens capturing the video recording and then placing the camera in
       yet another location and position within the bedroom.

       b.      Video 20180812015500_MANUAL - 12 August 2018 [01:55:00 hours] : This
       video is 3 seconds in length and shows BRADLEY sitting shirtless and in close proximity
       in front of the camera. BRADLEY is holding the camera in his left hand. Additionally, the
       angle as well as the background are different from the other previous videos that showed a
       stationary view of the side of the bed. This short video clip shows the view angled more
       towards the ceiling and aimed at BRADLEY' s face.


       13.    Your affiant knows from independent research that Maginon WIFI cameras are not

manufactured in the Commonwealth of Kentucky. Additionally, independent research further

reflects that no cellular telephones are manufactured in the Commonwealth of Kentucky.




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V.     CONCLUSION

       14.     Based on the foregoing, there is probable cause to believe that while in the Western

District of Kentucky, Jefferson County, Kentucky, Curtis Lee BRADLEY engaged in the

following:

       a.      In or about and between July and November 2018, knowingly used, persuaded,

induced, enticed, and coerced a minor to engage in sexually explicit conduct as that term is defined

in 18 U .S.C. § 2256(2)(A) for the purpose of producing visual depictions of such conduct using

materials that had been mailed, shipped, and transported in interstate and foreign commerce by

any means in violation of 18 U.S.C. §§ 225l(a) and 2251(e); and

       b.      On or about July 3.0, 2019, knowingly possessed child pornography, as that term is

defined in 18 U.S.C. §2256(8)(A), in violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).


                                              Respectfully submitted,




                                              Spe=
                                              Kay Br

                                              Homeland Security Investigations




~«
Subscribed and sworn to before me



UNITED STATES MAGISTRATE JUDGE




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